                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )    No. 3:12-cr-00222
                                                  )
 MARCELLUS ANTONIO HARRIS,                        )
                                                  )
         Defendant.                               )

                         MEMORANDUM OPINION AND ORDER

        Marcellus Antonio Harris’ Supplemental Motion for Compassionate Release (Doc. No.

157), is opposed by the Government (Doc. No. 165). He has properly exhausted his request for

compassionate release. (Doc. No. 154.) His Motion asserts that his hypertension and gastro-

esophageal reflux disease (“GERD”) constitutes a serious medical condition that increases his risk

to severe COVID-19 illness. (Doc. No. 157 at 1, 8–9.) Indeed, “extraordinary and compelling

reasons” must be shown for compassionate release, which includes a “serious physical or medical

condition . . . that substantially diminishes the ability of the defendant to provide self-care” in

prison. U.S.S.G. § 1B1.13 n.1(A)(ii); 18 U.S.C. § 3582(c)(1)(A). A chronic condition that presents

increased risk for severe illness from COVID-19 may be a “serious physical or medical condition”

if it is not well-controlled in prison. United States v. Arreola-Bretado, 445 F. Supp. 3d 1154, 1159

(S.D. Cal. 2020).

        The Centers for Disease Control and Prevention recognizes that hypertension “might”

increase one’s risk for serious illness if they contract COVID-19. See Ctrs. for Disease Control

and Prevention, People with Certain Medical Conditions, (updated Nov. 2, 2020),




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https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html#hypertension.

       It appears that Mr. Harris’ hypertension is controlled with medication. The medical records

show that BOP is closely monitoring his blood pressure and adjusting his medication when needed,

as recently as June 2020. (Doc. No. 159 at 11, 15, 17.) In August 2020, he had “no issues with [the

new] medication,” “fe[lt] well,” and his blood pressure was in a healthy range. (Id. at 1, 3.) Mr.

Harris’ controlled hypertension alone is not a serious physical or medical condition. United States

v. McKinnie, No. 1:16CR304, 2020 WL 5087058, at *2 (N.D. Ohio Aug. 27, 2020); see United

States v. Ackerman, No. 11-740-KSM-1, 2020 WL 5017618, at *5 (E.D. Pa. Aug. 25, 2020)

(collecting cases). Additionally, the medical records do not establish that Mr. Harris’ diagnosed

GERD, (Doc. No. 159 at 22), increases his risk to COVID-19, see United States v. Alzand, No.

18-CR-20703, 2020 WL 2781824, at *2 (E.D. Mich. May 29, 2020). There is no medical basis to

grant Mr. Harris’ motion.

       Accordingly, his Supplemental Motion for Compassionate Release (Doc. No. 157) is

DENIED.

       IT IS SO ORDERED.

                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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